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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION


UNITED STATES OF AMERICA                                                        PLAINTIFF

VS.                                             CRIMINAL NO.: 1:22-cr-43-DMB-DAS-1

ROBERT LYLE HITT                                                               DEFENDANT


                                 ORDER DENYING BOND

       This matter came before the court on Defendant's Motion for Bond, Docket [8]. The

court having heard and considered the arguments of counsel finds the Motion for Bond should be

and is hereby DENIED.

        The defendant is detained and shall remain in the custody of the United States Marshal

Service pending the Final Revocation Proceedings before the United States District Judge.

         SO ORDERED, this the 24th day of June, 2022.


                                              /s/ Jane M. Virden
                                             UNITED STATES MAGISTRATE JUDGE
